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                IN THE UNITED STATES DISTRICT COURT FOR THE
9
                        EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,    )     CR No. S 04-205 GEB
12                                )
               Plaintiff,         )
13                                )
          v.                      )
14                                )     [PROPOSED] FINDINGS PURSUANT TO
                                  )     FEDERAL RULE OF CRIMINAL
15   THA BUN HENG,                )     PROCEDURE 32(i)(3)(C)
                                  )
16             Defendant.         )
     ____________________________ )
17
18        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS:

19        Pursuant to Rule 32(i)(3)(C), Federal Rules of Criminal

20   Procedure, the Court makes the following findings to be appended

21   to the defendant’s presentence report.

22        1.   The Court overrules the defendant’s objection to his

23   Criminal History Category II.      The Court finds that his juvenile

24   adjudication has been appropriately included in the calculation

25   of his criminal history under the United States Sentencing

26   Guidelines.

27        2.   The Court grants the defendant’s request for a variance,

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1    however, finding that the defendant’s juvenile criminal history
2    is a factor in mitigation appropriately considered under 18
3    U.S.C. § 3553(a).       The Court finds the Offense Conduct to be a
4    Level 34, but      chooses vary from the guidelines relative to the
5    defendant’s criminal history and to sentence at the bottom of the
6    sentencing range for a Criminal History Category I (151 - 188
7    months).
8         3.     The Court declines to vary from the guidelines based on
9    the defendant’s arguments regarding crack-powder disparity,
10   sentencing disparity, or sentencing entrapment.
11   Dated:     April 18, 2007
12
13                                     GARLAND E. BURRELL, JR.
14                                     United States District Judge

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